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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                      )            8:04CR164-7
                                               )
                    Plaintiff,                 )            MEMORANDUM
      v.                                       )            AND ORDER
                                               )
PEDRO MORALES,                                 )
                                               )
                    Defendant.                 )



      This matter is before the court on the defendant’s “motion for leave to proceed
on appeal in forma pauperis” (filing 387), which will be treated as a notice of appeal
from the court’s judgment of September 26, 2011 (filing 384), which dismissed with
prejudice the defendant’s motion to vacate, set aside, or correct his sentence pursuant
to 28 U.S.C. § 2255 (filing 382).


      Before the defendant’s appeal can proceed, a certificate of appealability must
issue. See Fed. R. App. P. 22(b). A certificate of appealability may issue “only if the
applicant has made a substantial showing of the denial of a constitutional right.” 28
U.S.C. § 2253(c)(2). When a district court has rejected a constitutional claim on the
merits in the course of denying a § 2255 motion, “[t]he petitioner must demonstrate
that reasonable jurists would find the district court’s assessment of the constitutional
claims debatable or wrong” in order to meet the standard contained in § 2253(c).
Slack v. McDaniel, 529 U.S. 473, 484 (2000). In contrast, when a district court denies
a § 2255 motion on procedural grounds without reaching the applicant’s underlying
constitutional claims on the merits, a certificate of appealability should issue under
§ 2253(c) when “the prisoner shows, at least, that jurists of reason would find it
debatable whether the petition states a valid claim of the denial of a constitutional
right and that jurists of reason would find it debatable whether the district court was
correct in its procedural ruling.” Id.
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      For the reasons set forth in the court’s memorandum and order entered on
September 26, 2011 (filing 383), as modified on October 21, 2011 (filing 386),1 the
court concludes that the defendant has not made a substantial showing of the denial
of a constitutional right as required by 28 U.S.C. § 2253(c). Therefore, a certificate
of appealability will not be issued.


      The defendant was determined to be financially unable to obtain an adequate
defense in his criminal case, and an attorney was appointed to represent him at trial.
Because the appeal appears to be taken in good faith, even though a certificate of
appealability will not be issued, the defendant may proceed in forma pauperis on
appeal pursuant to Federal Rule of Appellate Procedure 24(a)(3).


      IT IS ORDERED that:


      1.     The defendant’s motion for leave to proceed in forma pauperis on appeal
             (filing 387) is granted.


      2.     A certificate of appealability will not issue in this case.


      3.     The clerk of the court shall transmit a copy of this memorandum and
             order to the United States Court of Appeals for the Eighth Circuit.


      November 14, 2011.                        BY THE COURT:

                                                Richard G. Kopf
                                                United States District Judge



      1
        In the September 26, 2011 memorandum and order, I denied the defendant’s
§ 2255 motion because (1) it was untimely and (2) his claim of ineffective assistance
of counsel has no merit. The defendant filed a motion for reconsideration which I
granted in part on October 21, 2011, finding that the § 2255 motion was timely filed
under the prison mailbox rule. In all other respects, the motion for reconsideration
was denied.

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